
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and the respondent’s Answer.
Claimant, County Commission of Upshur County, provides and maintains a facility for the incarceration of prisoners who have committed crimes in Upshur County. Some of the prisoners held in the county facility have been sentenced to facilities owned and maintained by the respondent, Division of Corrections. Claimant brought this action to recover the costs of housing for prisoners who have been sentenced to a State penal institution, but due to circumstances beyond the control of the county, these prisoners have had to remain in the county prison facility for periods of time beyond the date of the commitment order.
The Court previously determined in the County Comm’n of Mineral County v. Div. of Corrections, an unpublished opinion of the Court of Claims issued November 21,1990, that the respondent is liable to the claimant for the cost of housing these inmates.
Pursuant to the holding in the Mineral County Opinion, the respondent reviewed this claim to determine the number of inmate days for which respondent may be liable. Respondent then filed an Answer admitting the validity of the claim and that the amount of $25,953.95 is a fair and reasonable settlement of the claim.
In view of the foregoing, the Court makes an award to claimant in the amount of $25,953.95.
Award of $25,953.95.
